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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                    Case No: 1:13-cr-242

v.                                                          HON. JANET T. NEFF

SHAWN ALPHONSO HYMAN,

              Defendant.
                                         /


               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed October 17, 2014 by the

United States Magistrate Judge in this action. The Report and Recommendation was duly served

on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and Recommendation of the Magistrate Judge (Dkt 156) is APPROVED and

ADOPTED as the opinion of the Court.

       2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in Counts One and Three of the First Superseding Indictment.

       3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: November 7, 2014                              /s/Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge
